          Case: 24-1147   Document: 39     Filed: 08/15/2024   Page: 1




                                No. 24-1147


              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE SIXTH CIRCUIT


          APRIL MALICK, ROB MALICK, and C.M., a minor child,

                            Plaintiffs-Appellants,

                                      v.

            CROSWELL-LEXINGTON DISTRICT SCHOOLS,
           CROSWELL-LEXINGTON BOARD OF EDUCATION,
               DAN GILBERTSON, and KYLE WOOD,

                        Defendants-Appellees.
__________________________________________________________________

              On Appeal from the United States District Court
                   for the Eastern District of Michigan
                         Docket No. 22-cv-11126
__________________________________________________________________

  AMICUS CURIAE BRIEF OF THE AMERICAN CIVIL LIBERTIES
 UNION OF MICHIGAN IN SUPPORT OF PLAINTIFFS-APPELLANTS
                     AND REVERSAL

                                   Bonsitu Kitaba-Gaviglio
                                   Daniel S. Korobkin
                                   American Civil Liberties
                                     Union Fund of Michigan
                                   2966 Woodward Ave.
                                   Detroit, MI 48201
                                   (313) 578-6800
                                   bkitaba@aclumich.org

August 15, 2024                    Counsel for Amicus Curiae
            Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 2




                  CORPORATE DISCLOSURE STATEMENT

      Amicus curiae American Civil Liberties Union of Michigan is not a subsidiary

or affiliate of a publicly owned corporation and knows of no publicly owned

corporation, not a party to this appeal, that has a financial interest in the outcome.

                                        /s/ Bonsitu Kitaba-Gaviglio
                                        Bonsitu Kitaba-Gaviglio




                                           ii
                Case: 24-1147           Document: 39            Filed: 08/15/2024          Page: 3




                                        TABLE OF CONTENTS

CORPORATE DISCLOSURE STATEMENT ........................................................ ii
TABLE OF AUTHORITIES ................................................................................... iv
STATEMENT OF INTEREST ..................................................................................1
INTRODUCTION .....................................................................................................2
ARGUMENT .............................................................................................................3
     I. SCHOOLS HAVE A LEGAL OBLIGATION TO ADDRESS RACE-
        BASED HARASSMENT OF STUDENTS ..................................................3
     II. SCHOOLS HAVE MANY TOOLS AT THEIR DISPOSAL TO
         ADDRESS RACE-BASED HARASSMENT AND OTHER
         DISCRIMINATION ......................................................................................7
          A. Schools can provide meaningful training to address the harassment
             or other discrimination at issue ...............................................................8
          B. Restorative practices, including conferencing with students, families,
             offenders, and other stakeholders can be effective at recognizing and
             repairing the harm caused by harassment or other discrimination........10
          C. Educational remedies, mental health support, and safety plans are
             ways to help victims preserve educational opportunities despite the
             harassment .............................................................................................13
          D. A historically accurate curriculum that teaches and affirms the
             diversity of students and the world can be effective at addressing a
             hostile educational environment............................................................15
          E. Monitoring and assessing the effectiveness of remedial actions and
             anti-harassment/discrimination efforts can ensure that a school
             district is responsive to circumstances as they evolve ..........................17
     III. A JURY COULD FIND THE DISTRICT VIOLATED FEDERAL LAW
          BECAUSE IT FAILED TO TRY SOMETHING NEW WHEN ITS
          RESPONSE PROVED INEFFECTIVE ......................................................18
CONCLUSION ........................................................................................................22
CERTIFICATE OF COMPLIANCE .......................................................................23
CERTIFICATE OF SERVICE ................................................................................24



                                                          iii
                 Case: 24-1147            Document: 39             Filed: 08/15/2024            Page: 4




                                       TABLE OF AUTHORITIES

Cases
Bryant v. Indep. Sch. Dist. No. I–38, 334 F.3d 928 (10th Cir. 2003) ........................3
Canty v. Old Rochester Reg’l Sch. Dist., 66 F. Supp. 2d 114 (D. Mass. 1999) ........5
Davis v. Monroe Cty. Bd. of Educ., 526 U.S. 629 (1999) .....................................3, 4
Doe ex rel. Doe #2 v. Metro. Gov’t of Nashville & Davidson Cnty., 35 F.4th
     459 (6th Cir. 2022) ........................................................................................20
Doe v. Alpena Pub. Sch. Dist., 3 N.W.3d 838 (Mich. Ct. App. 2022), rev’d,
      __ N.W.3d __, 2024 WL 3573522 (Mich. 2024) ..........................................12
Doe v. District of Columbia, 694 F. Supp. 3d 20 (D.D.C. 2023) ............................14
Doe v. Fairfax Cnty. Sch. Bd., 1 F.4th 257 (4th Cir. 2021) .......................................4
Doe v. Ohio Univ., No. 2:21-cv-858, 2022 WL 899687 (S.D. Ohio Mar. 28,
      2022) ..............................................................................................................14
Doe v. Sch. Bd. of Broward Cnty., 604 F.3d 1248 (11th Cir. 2010)..........................4
Doe v. Univ. of Tennessee, 186 F. Supp. 3d 788 (M.D. Tenn. 2016)........................7
Feminist Majority Found. v. Hurley, 911 F.3d 674 (4th Cir. 2018) ....... 9, 10, 14, 18
Foster v. Bd. of Regents of Univ. of Mich., 982 F.3d 960 (6th Cir. 2020) ....... 13, 14
Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274 (1998) ...................................3
Hall v. Millersville Univ., 22 F.4th 397 (3d Cir. 2022) .............................................4
Jackson v. Quanex Corp., 191 F.3d 647 (6th Cir. 1999) .................................. 20, 21
Kollaritsch v. Michigan State Univ. Bd. of Trustees, 944 F.3d 613 (6th Cir.
      2019) ..............................................................................................................20
S.B. ex rel. A.L. v. Bd. of Educ. of Harford Cnty., 819 F.3d 69 (4th Cir.
       2016) ..............................................................................................................14
S.C. v. Metro. Gov’t of Nashville, 86 F.4th 707 (6th Cir. 2023) ...............................3
Sewell v. Monroe City Sch. Bd., 974 F.3d 577 (5th Cir. 2020) .................................3
Simpson v. Univ. of Colorado Boulder, 500 F.3d 1170 (10th Cir. 2007)..................6
Soper v. Hoben, 195 F.3d 845 (6th Cir. 1999).................................................. 14, 15
Stiles ex rel. D.S. v. Grainger Cnty., Tenn., 819 F.3d 834 (6th Cir. 2016) ...............7


                                                             iv
                 Case: 24-1147            Document: 39             Filed: 08/15/2024            Page: 5




Strickland v. City of Detroit, 995 F.3d 495 (6th Cir. 2021).....................................20
Thompson v. Ohio State Univ., 639 F. App’x 333 (6th Cir. 2016) ............................4
Vance v. Spencer Cnty. Pub. Sch. Dist., 231 F.3d 253 (6th Cir. 2000) .................4, 5
Williams ex rel. Hart v. Paint Valley Loc. Sch. Dist., 400 F.3d 360 (6th Cir.
      2005) ................................................................................................................7
Zeno v. Pine Plains Cent. Sch. Dist., 702 F.3d 655 (2d Cir. 2012) ................. passim
Statutes
20 U.S.C. § 1687 ........................................................................................................3
42 U.S.C. § 2000d ......................................................................................................3
Mich. Comp. Laws § 380.1310c ....................................................................... 11, 12
Rules
Fed. R. App. P. 29 ......................................................................................................1
Other Authorities
Center for Justice Innovation, Restorative Justice in Schools: A Whole-
      School Implementation Process (April 2021) ...............................................13
Christy Byrd, Does Culturally Relevant Teaching Work? An Examination
      From Student Perspectives, Sage Open (July 2016) .............................. 15, 16
Ekene Francis Okagbue, et al., Does School Bullying Show Lack of Effective
     Multicultural Education in the School Curriculum?, Int’l J. Educ.
     Rsch. Open (June 2022).................................................................................16
Isabella Lanza, et al., A Silver Lining: The Role of Ethnic Diversity on Co-
       occurring Trajectories of Weight Status and Peer Victimization
       Across Early Adolescence, J. Adolescent Health, 554-60 (2018) .................16
Jefferson County Public School District, Racial Equity Analysis Protocol ............17
Luke Roberts, Restorative Justice Council, Racism in the Playground: A
     Restorative Justice Response, ................................................................. 11, 12
Minneapolis Public School District, Equity and Diversity Impact Assessment
     (Apr. 2024) ....................................................................................................17
Nicholas Gage, et al., School Climate and Bullying Victimization: A Latent
     Class Growth Model Analysis, Sch. Psych. Q., 256-71 (2014).....................16
Russlynn Ali, Assistant Sec’y for Civil Rights, Office for Civil Rights, U.S.
      Dep’t of Educ., Dear Colleague Letter (Oct. 26, 2010). ............ 10, 13, 15, 17


                                                             v
                Case: 24-1147          Document: 39           Filed: 08/15/2024          Page: 6




Settlement Agreement Between the United States of America and the Falcon
      School District 49 ......................................................................................9, 17
U.S. Dep’t of Ed., Office for Civil Rights, Part II: Step-by-Step Guidance:
      Creating a Supportive School Climate that Appreciates Racial,
      Cultural, and Other Forms of Diversity (Jan. 1999) .................................8, 17




                                                        vi
            Case: 24-1147    Document: 39     Filed: 08/15/2024    Page: 7




                         STATEMENT OF INTEREST1

      The American Civil Liberties Union of Michigan (“ACLU”) is the Michigan

affiliate of a nationwide nonpartisan organization of over a million members

dedicated to protecting the civil liberties and civil rights guaranteed by the United

States Constitution. The ACLU regularly and frequently participates in litigation in

state and federal courts seeking to protect the constitutional rights of people in

Michigan. The ACLU advocates on behalf of the rights of students in schools to be

free from all forms of harassment and other discrimination, and to ensure students

have access to a safe environment that is conductive to learning while respecting

their individual rights. The ACLU brought litigation on behalf of all Flint children

after the Flint Water Crisis, advocating for systemic change of the special education

system to meet the needs of children who were affected by lead in their drinking

water, see D.R. v. Mich. Dep’t of Educ., E.D. Mich. Case No. 16-cv-13694; has long

advocated for the preservation of public school funding, see CAP v. Michigan, Mich.

Sup. Ct. Case No. 158751; and celebrates public schools for adopting policies that

respect students’ rights and identities, see Reynolds v. Talberg, W.D. Mich. Case

No. 1:18-cv-00069.



1
 Pursuant to Federal Rule of Appellate Procedure 29, amicus curiae states that no
counsel for a party authored this brief in whole or in part, nor did anyone, other than
amicus or their counsel, make a monetary contribution intended to fund the
preparation or submission of the brief.

                                          1
            Case: 24-1147     Document: 39     Filed: 08/15/2024   Page: 8




                                 INTRODUCTION

      The harassment C.M. suffered at Croswell-Lexington District Schools was

egregious. It was not, unfortunately, unique. Across Michigan, and across the

country, too many students experience racial harassment by their classmates. The

good news is that schools have many remedies at their disposal—not just, as the

district court assumed below, student discipline. To address a known harassment

problem, schools can, among other measures, offer trainings, restorative

interventions, or victim-support measures. They can promote student acceptance and

tolerance through education about other cultures, and they can track the success—

or lack thereof—of their policies and practices, making changes as necessary.

Through these tools, schools can combat hostile environments to ensure safe and

equitable classrooms where students can learn and grow.

      Croswell-Lexington District Schools, however, failed to try these remedies,

instead relying on suspensions that it knew were ineffective at stopping the

harassment. The District did so despite its knowledge that racial harassment

pervaded its schools to such a degree that C.M.’s family pulled her out of school for

a year, and despite offers of help from the local NAACP. As a result, a jury could

find that the District violated federal law.

      Accordingly, the district court’s grant of summary judgment should be

reversed, and the case remanded for trial.



                                           2
            Case: 24-1147     Document: 39     Filed: 08/15/2024   Page: 9




                                    ARGUMENT

I.    SCHOOLS HAVE A LEGAL OBLIGATION TO ADDRESS RACE-
      BASED HARASSMENT OF STUDENTS.

      Michigan schools must remediate race-based harassment that disrupts

students’ educations. That obligation is not only a pedagogical imperative but a legal

requirement under Title VI of the Civil Rights Act of 1964 and the Equal Protection

Clause of the U.S. Constitution.

      Title VI prohibits race discrimination by “any program or activity,” including

any school, that “receiv[es] Federal financial assistance.” 42 U.S.C. § 2000d; see 20

U.S.C. § 1687 (defining “program or activity” to include schools). The Supreme

Court has held that schools may be liable for their response, or lack thereof, to sexual

harassment of students by their peers. Davis v. Monroe Cty. Bd. of Educ., 526 U.S.

629, 653 (1999); see S.C. v. Metro. Gov’t of Nashville, 86 F.4th 707, 715-16 (6th

Cir. 2023). “Title VI . . . is parallel to Title IX except that it prohibits race

discrimination, not sex discrimination, and applies in all programs receiving federal

funds, not only in education programs.” Gebser v. Lago Vista Indep. Sch. Dist., 524

U.S. 274, 286 (1998). Accordingly, other circuits have held that a school may be

liable under Title VI for mishandling peer racial harassment. See, e.g., Sewell v.

Monroe City Sch. Bd., 974 F.3d 577, 584 (5th Cir. 2020); Zeno v. Pine Plains Cent.

Sch. Dist., 702 F.3d 655, 665 n.10 (2d Cir. 2012); Bryant v. Indep. Sch. Dist. No. I–

38, 334 F.3d 928, 934 (10th Cir. 2003). And this Court has assumed as much in an


                                           3
           Case: 24-1147     Document: 39     Filed: 08/15/2024   Page: 10




unpublished opinion. Thompson v. Ohio State Univ., 639 F. App’x 333, 342 (6th Cir.

2016).

      To establish a claim for racial harassment under Title VI, just like a claim for

sexual harassment under Title IX, a plaintiff must demonstrate that (1) she suffered

harassment so severe and pervasive as to deprive her of educational opportunities or

benefits, (2) the defendant school had actual notice of the harassment, and (3) the

defendant school was nonetheless deliberately indifferent to it. Davis, 526 U.S. at

633; Zeno, 703 F.3d 655. At issue in this appeal is the deliberate indifference

element. A school is deliberately indifferent “where [its] response to the harassment

or lack thereof is clearly unreasonable in light of the known circumstances.” Davis,

526 U.S. at 648. Appeals courts, including this one, are in unanimous agreement that

a school may not avoid a finding of deliberate indifference simply because “it did

not just do ‘nothing.’” Hall v. Millersville Univ., 22 F.4th 397, 411 (3d Cir. 2022);

see also, e.g., Vance v. Spencer Cnty. Pub. Sch. Dist., 231 F.3d 253, 260 (6th Cir.

2000) (explaining a “minimalist response” is not sufficient to avoid liability); Doe

v. Sch. Bd. of Broward Cnty., 604 F.3d 1248, 1259-60 (11th Cir. 2010) (holding a

school may be liable even if it “took some action in response to [the] sexual

harassment allegations”); Doe v. Fairfax Cnty. Sch. Bd., 1 F.4th 257, 271 (4th Cir.

2021) (noting a “half-hearted investigation or remedial action will [not] suffice to

shield a school from liability”).


                                          4
           Case: 24-1147     Document: 39     Filed: 08/15/2024   Page: 11




      In particular, “[w]here a school district has actual knowledge that its efforts

to remediate are ineffective, and it continues to use those same methods to no avail,

such district has failed to act reasonably in light of the known circumstances,” and

so may be liable. Vance, 231 F.3d at 261; see Zeno, 702 F.3d at 669-70 (same). For

example, this Court held that a reasonable jury could find a school district was

deliberately indifferent when, in the face of ongoing sexual harassment, it

“continued to use the same ineffective methods”—“talking to the offenders”—“to

no acknowledged avail.” Vance, 231 F.3d at 262. In doing so, the Court favorably

discussed a similar, out-of-circuit case. Id. (citing Canty v. Old Rochester Reg’l Sch.

Dist., 66 F. Supp. 2d 114, 116-17 (D. Mass. 1999)). There, a district court held that

a school was deliberately indifferent when it repeatedly reprimanded a coach who

had harassed a student, and restricted the coach’s contact with the victim, because

the school failed to “take further steps” once it learned these interventions were

“inadequate” to end the harassment. Id. (quoting Canty, 66 F. Supp. 2d at 117).

      By like token, in Zeno v. Pine Plains Central School District, the Second

Circuit concluded a reasonable jury could find a school district was deliberately

indifferent because it failed to pursue new interventions when it realized its initial

response to racial harassment—disciplining the harassers—was ineffective. Zeno,

702 F.3d at 668-71. That school “argue[d] that its disciplinary response could not

constitute deliberate indifference because it immediately suspended nearly every


                                          5
           Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 12




student who was identified as harassing” the plaintiff. Id. at 668. But, the Second

Circuit explained, the school knew that discipline “did not deter others from

engaging . . . in serious and offensive racial conduct.” Id. at 669. As the student-

victim put it, “if it wasn’t the same kid [harassing him], it would always be someone

replacing that kid, because they were all connected.” Id. at 662. And yet the school

“dragged its feet before implementing any non-disciplinary remedial action,” which

were “little more than half-hearted measures,” like a poorly planned mediation. Id.

at 669-70. And it rebuffed an offer from the NAACP and another local organization

to provide “racial sensitivity training,” instead offering generic, and optional, anti-

bullying education. Id. at 670. Because “a jury reasonably could have found that the

[school] ignored the many signals that greater, more directed action was needed,” a

jury could find it was deliberately indifferent. Id. at 671.

      Other courts, too, have held that a school could be liable where it failed to

implement trainings clearly needed to end harassment. For example, the Tenth

Circuit held in Simpson v. Univ. of Colorado Boulder, 500 F.3d 1170 (10th Cir.

2007), that the defendant-school could be found to be deliberately indifferent for

having failed to provide sexual harassment training to staff and students in its

athletics program once the need for training became obvious from an ongoing pattern

of assaults. Id. at 1184-85; see also Doe v. Univ. of Tennessee, 186 F. Supp. 3d 788,




                                           6
           Case: 24-1147     Document: 39      Filed: 08/15/2024    Page: 13




808 (M.D. Tenn. 2016) (holding Title IX liability can arise from lack of

harassment/discrimination training, among other failures).

      The Equal Protection Clause of the U.S. Constitution—enforced, in suits for

money damages, through 42 U.S.C. § 1983—also requires schools to address peer

racial harassment. “The deliberate indifference standard used for proving a § 1983

equal protection violation in peer harassment cases is ‘substantially the same’ as the

deliberate indifference standard applied in Title IX [or Title VI] cases.” Stiles ex rel.

D.S. v. Grainger Cnty., Tenn., 819 F.3d 834, 852 (6th Cir. 2016) (quoting Williams

ex rel. Hart v. Paint Valley Loc. Sch. Dist., 400 F.3d 360, 369 (6th Cir. 2005)). The

plaintiff must establish “that he was subjected to discriminatory peer harassment”

and “that school officials responded to the discriminatory peer harassment with

deliberate indifference, i.e. in a manner clearly unreasonable in light of known

circumstances.” Id.

II.   SCHOOLS HAVE MANY TOOLS AT THEIR DISPOSAL TO
      ADDRESS RACE-BASED HARASSMENT AND OTHER
      DISCRIMINATION.

      Schools can use a wide array of interventions to address race-based peer

harassment and other discrimination and protect students’ educational opportunities.

When encountering behavior that implicates civil rights laws like Title VI and the

Equal Protection Clause, school administrators can look beyond exclusionary

disciplinary measures for the perpetrators. Instead, schools can employ many tools



                                           7
           Case: 24-1147     Document: 39      Filed: 08/15/2024    Page: 14




after learning that there is a harassment problem at the school. These tools include

trainings for students, staff, and families; restorative practices; educational

accommodations for victims; mental health supports for victims and harassers;

safety plans; public statements; policy changes; and adopting or adjusting the

curriculum to educate students and address the root causes of harassment or other

discrimination.

      A.     Schools can provide meaningful training to address the harassment
             or other discrimination at issue.

      Training for staff, students, and the broader school community by qualified

experts about harassment and other discrimination can help prevent incidents of

discrimination and build an environment where staff and students know how to spot

and address it. Trainings can take many forms and can include information for staff

about how to identify and address discrimination, training for students on what

discrimination is and its root causes, and training for students and their families on

their rights at school and what to do if they face harassment or other discrimination.

      Regular training for staff on school policies and how to identify and address

harassment is crucial for effective enforcement. Policies have little effect if staff are

unaware of them or ignorant of how to implement them. U.S. Dep’t of Ed., Office

for Civil Rights, Part II: Step-by-Step Guidance: Creating a Supportive School

Climate that Appreciates Racial, Cultural, and Other Forms of Diversity (Jan. 1999)

(“Step-by-Step                                                             Guidance”),


                                           8
           Case: 24-1147     Document: 39     Filed: 08/15/2024   Page: 15




https://www2.ed.gov/offices/OCR/archives/Harassment/climate1.html              (“Fully

explain to . . . staff how to identify prohibited harassment and how to use the

complaint procedures.”). Staff training can include a review of the school’s anti-

discrimination policies and procedures; the type of conduct that constitutes

discrimination, which includes harassment; its root causes; and the negative impact

that such conduct can have on students, staff, and the educational environment.

Teachers and staff should understand their obligation to respond to and report

harassment, how to take effective action to end it, prevent its recurrence, and as

appropriate, remedy its effects. See Settlement Agreement Between the United States

of America and the Falcon School District 49 (“Falcon Settlement Agreement”), ¶

30          (Oct.          14,         2014),           https://www.justice.gov/sites/

default/files/crt/legacy/2014/10/21/falcon49agree.pdf.

      Mandatory training for harassers and the larger school community that

addresses the specific harassment or other discrimination at issue is a remedial action

that could address a racially hostile environment. See Zeno, 702 F.3d at 668-69. The

training may include inviting external groups like the NAACP or human rights

organizations to teach or workshop culturally relevant material. Id. at 670. Like in

Zeno, the Fourth Circuit in Feminist Majority Found. v. Hurley, 911 F.3d 674 (4th

Cir. 2018), found that the school could have conducted a mandatory assembly for

the student body to discuss the issue of harassment or discrimination and make clear


                                          9
               Case: 24-1147     Document: 39    Filed: 08/15/2024    Page: 16




that such behavior whether at school or online is discouraged. 911 F.3d at 693; see

also Russlynn Ali, Assistant Sec’y for Civil Rights, Office for Civil Rights, U.S.

Dep’t     of     Educ.,   Dear     Colleague     Letter,   p.   4    (Oct.   26,   2010),

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201010.pdf (“A more

effective response would have included” more systemic changes like school-wide

trainings on “constructive responses to racial conflict, hosting class discussions

about racial harassment and sensitivity to students of other races, and conducting

outreach to involve parents and students in an effort to identify problems and

improve the school climate.”).

        General know-your-rights training on harassment and other discrimination

can also help prevent harassment from occurring or ensure it is handled in a prompt

and effective manner. Students can be given information on how to respond to

harassment and other discrimination when they experience or witness it, how school

personnel are expected to respond, and the options available to them and their

families if they experience harassment. See Falcon Settlement Agreement, supra, ¶

31. Training programs are adaptive tools that a school can employ strategically with

a goal to end the harassment and deter future harassment and other discrimination.

        B.      Restorative practices, including conferencing with students,
                families, offenders, and other stakeholders can be effective at




                                            10
           Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 17




             recognizing and repairing the harm caused by harassment or
             other discrimination.

      Restorative justice practices are non-disciplinary tools to address the harm

experienced from racial or other forms of discrimination with a goal of repairing

relationships and ending the harmful behavior. Luke Roberts, Restorative Justice

Council, Racism      in    the   Playground: A      Restorative    Justice    Response,

https://restorativejustice.org.uk/blog/racism-playground-restorative-response (last

visited Aug. 14, 2024). Michigan law encourages the use of restorative practices in

educational institutions and requires its use as a “first consideration to remediate

offenses such as interpersonal conflicts, bullying, verbal and physical conflicts . . .

and harassment and cyberbullying.” Mich. Comp. Laws § 380.1310c(2).

      Such practices may include victim-offender conferences initiated by the

victim and approved by their parents or guardians, and can include victim advocates,

the offender, members of the school community, and supporters of the victim and

the offender. Id. Conferences “provide an opportunity for the offender to accept

responsibility for the harm caused to those affected by the misconduct and to

participate in setting consequences to repair the harm.” Id. Administrators have a

chance to hear from all parties involved in a dispute and the larger school

community. Students who have been harmed have an opportunity to express

themselves and their feelings, and students who engaged in the harassing behavior

have an opportunity to listen and understand the emotional and personal damage


                                          11
           Case: 24-1147    Document: 39      Filed: 08/15/2024   Page: 18




done while also recognizing that they belong to a community. Roberts, supra. The

attendees, known as the restorative practices team, “may require the pupil to do 1 or

more of the following: apologize; participate in community service, restoration or

counseling; or pay restitution.” Mich. Comp. Laws § 380.1310c(2). An agreement

is drafted that incorporates the selected consequences and time limits for completion

of the consequences signed by all participants. Id.

      Whereas discipline targets the harasser for unwanted behavior and exclusion

from the school environment, restorative approaches address race-based harassment

and other discrimination “through understanding all perspectives when addressing

the situation, including parents and the community.” Roberts, supra. “A school’s

authority over its students is not limited to the extreme case of suspension or

expulsion—a school is also permitted to exercise ‘restorative practices’ designed to

‘repair[ ] the harm to the victim and the school community caused by a pupil’s

misconduct.’” Doe v. Alpena Pub. Sch. Dist., 3 N.W.3d 838, 843 (Mich. Ct. App.

2022) (quoting Mich. Comp. Laws § 380.1310c(3)(b)), rev’d, __ N.W.3d __, 2024

WL 3573522 (Mich. 2024). Restorative practices can be used as an alternative or in

addition to suspension or expulsion or in lieu of exclusionary discipline. Mich.

Comp. Laws § 380.1310c(1).

      Guides exist to help schools implement restorative justice practices as one

way to build relationships, address conflicts, and begin to reduce reliance on


                                         12
           Case: 24-1147    Document: 39     Filed: 08/15/2024    Page: 19




exclusionary discipline. See Center for Justice Innovation, Restorative Justice in

Schools:    A     Whole-School     Implementation       Process     (April   2021),

https://www.innovatingjustice.org/sites/default/files/media/document/2021/Guide_

RJ_Implementation_04052021.pdf.

      C.    Educational remedies, mental health support, and safety plans are
            ways to help victims preserve educational opportunities despite the
            harassment.
      Schools can respond to harassment by providing victims with educational

supports, including accommodations, mental health counseling, and safety plans, to

remedy the effects of the discrimination and ensure equal access to educational

opportunities. Educational remedies for victims are especially important “if the

school initially delays in responding or responds inappropriately or inadequately to

information about harassment.” Ali, Dear Colleague Letter, p. 3.

      Examples of educational accommodations for victims include excusing the

victim from class if they express concerns about participating, time extensions on

assignments, and retaking tests. See Foster v. Bd. of Regents of Univ. of Mich., 982

F.3d 960, 967 (6th Cir. 2020). Schools can also offer tailored accommodations that

address the specific educational or professional harms caused by the harassment. For

example, in Foster, when the victim “explained the damage the harasser wrought on

her networking prospects, the University banned him from future networking

events.” Id. Approving a request to transfer to a different school may also be



                                        13
           Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 20




appropriate in certain circumstances. See Doe v. District of Columbia, 694 F. Supp.

3d 20, 35 (D.D.C. 2023).

      In cases where harassment poses a threat to another students’ safety, a school

can minimize those harms and make sure the victim can still take full advantage of

her educational opportunities. A school can remove harassers from the classroom or

change the victim’s classes, see Doe v. Ohio Univ., No. 2:21-cv-858, 2022 WL

899687, at *6 (S.D. Ohio Mar. 28, 2022); offer counseling services and an overall

safety plan, see Doe v. District of Columbia, 694 F. Supp. 3d at 35; ensure full

separation of harasser and victim with additional security measures, see Foster, 982

F.3d at 970; and/or assign a paraeducator or shadow to the victim to ensure the

student’s safety and a witness for any future acts of harassment, see S.B. ex rel. A.L.

v. Bd. of Educ. of Harford Cnty., 819 F.3d 69, 77 (4th Cir. 2016); Soper v.

Hoben, 195 F.3d 845, 855 (6th Cir. 1999) (immediately upon learning of sexual

assault, school installed windows in special education classroom, placed an aide in

the plaintiff’s classroom, and offered increased supervision, among other

accommodations).

      Counseling can also be a helpful component of any remedial action plan to

ameliorate the emotional and/or physical toll on students. Doe v. District of

Columbia, 694 F. Supp. 3d at 35 (school recommended providing victim with

counseling services); Feminist Majority Found., 911 F.3d at 693 (university could


                                          14
           Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 21




have offered counseling services for those impacted by the targeted harassment);

Ali, Dear Colleague Letter, p. 3 (“Appropriate steps to end harassment may include

. . . providing counseling for the target and/or harasser . . . .”); Soper, 195 F.3d at

855 (school created student counseling sessions on how to function socially with the

opposite sex in response to a sexual assault incident).

      D.     A historically accurate curriculum that teaches and affirms the
             diversity of students and the world can be effective at addressing a
             hostile educational environment.
      A culturally responsive and historically accurate curriculum can help schools

prevent harassment and other discrimination and reduce a school’s exposure to

liability under federal civil rights laws. Many educators have seen the value of

adopting what is generally known as a multicultural curriculum to fill gaps in

knowledge or teach students about people of other races. That curriculum may come

in many forms, depending on a particular school’s context and needs. See Christy

Byrd, Does Culturally Relevant Teaching Work? An Examination From Student

Perspectives,   Sage     Open     (July   2016),     https://journals.sagepub.com/doi/

10.1177/2158244016660744. At heart, a multicultural curriculum should be one that

“promote[s] harmony, inclusion, mutual coexistence, and acceptance of individuals

from different racial, ethnic, political, and educational backgrounds with varied

views and understanding of the society.” Ekene Francis Okagbue, et al., Does School

Bullying Show Lack of Effective Multicultural Education in the School Curriculum?,



                                          15
           Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 22




Int’l J. Educ. Rsch. Open (June 2022), https://www.sciencedirect.com/

science/article/pii/S2666374022000541. “It is important that teachers balance

celebrations of diversity with discussions of historical and contemporary racism.

When students perceived their teachers as explicitly engaging with social issues and

the role of race in society, they were more aware that racism exists.” Byrd, supra.

      “The understanding of multiculturalism is not only on identifying the culture,

ethnic groups, and different racial backgrounds in the society but also on the

knowledge of human connections, human feelings, and brotherhood. The

affectionate dimension of multiculturalism reduces the bullying tendencies in the

students.” Okagbue, supra. Indeed, studies show that “exposure to racial and ethnic

diversity is associated with a reduction in bullying reports.” Nicholas Gage, et al.,

School Climate and Bullying Victimization: A Latent Class Growth Model

Analysis, Sch. Psych. Q., 256-71 (2014); see Isabella Lanza, et al., A Silver Lining:

The Role of Ethnic Diversity on Co-occurring Trajectories of Weight Status and Peer

Victimization Across Early Adolescence, J. Adolescent Health, 554-60 (2018)

(same). Conversely, students’ harassing conduct, and the beliefs or motivations

underlying that conduct, can indicate that there is a failure of effective education in

the curriculum.




                                          16
              Case: 24-1147   Document: 39      Filed: 08/15/2024   Page: 23




         E.    Monitoring and assessing the effectiveness of remedial actions and
               anti-harassment/discrimination efforts can ensure that a school
               district is responsive to circumstances as they evolve.
         Monitoring and assessing the effectiveness of anti-harassment/discrimination

efforts is critical to reducing harassment and other discrimination in schools. “In

order to ensure that its policies and procedures are consistently followed, a school

will normally need to create and maintain documentation of all harassment incidents,

including notations as to how the harassment was addressed. The record-keeping

system should be sufficient to allow the district to monitor district schools for

repetition of harassing behaviors and to determine if institutional remedies are

needed to address patterns of harassment and prevent future incidents.” Step-by-Step

Guidance, supra. Several guides exist for schools endeavoring to design an

assessment and monitoring system. See Falcon Settlement Agreement, ¶ 34;

Minneapolis Public School District, Equity and Diversity Impact Assessment (Apr.

2024), https://sites.google.com/mpls.k12.mn.us/mpsedia/home; Jefferson County

Public        School      District,    Racial       Equity      Analysis       Protocol,

https://www.jefferson.kyschools.us/page/racial-equity-analysis-protocol.

         Sometimes, monitoring may reveal that a school’s policies are ineffective and

require revision. See Ali, Dear Colleague Letter, p. 3 (explaining “[a]n effective

response also may need to include the issuance of new policies against harassment

and new procedures by which students, parents, and employees may report



                                           17
           Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 24




allegations of harassment”). In those circumstances, schools can call on the guidance

of experts, who can help schools reevaluate their policies. Feminist Majority Found.,

911 F.3d at 693.

III.   A JURY COULD FIND THE DISTRICT VIOLATED FEDERAL LAW
       BECAUSE IT FAILED TO TRY SOMETHING NEW WHEN ITS
       RESPONSE PROVED INEFFECTIVE.
       In this case, a jury could find that the District was deliberately indifferent

because it failed to try new remedial measures when it learned that its initial

strategy—sporadic discipline of individual harassers—was ineffective. By the

spring of 2020, the District had received multiple complaints from the Malicks about

the harassment, and the fact that students continued to target C.M. despite occasional

discipline. Plaintiffs-Appellants’ Brief, R. 32, Appendix A. And by the fall, the

District knew that the Malicks had elected to homeschool C.M. for eighth grade to

protect her from “racial bullying and abuse.” Malick Dep., R. 49-8, Page ID # 2174;

Gilbertson Dep., R. 49-6, Page ID #1825; Wood Dep., R. 49-12, Page ID # 2745.

When C.M. returned to the District for ninth grade, her parents met with officials to

ensure they were aware of the problems that had driven her out of school, and to

request basic measures to stop the problem from reoccurring. Mills Dep. R. 49-11,

Page ID # 2598, 2652, 2366-68; A. Malick Dep., R. 49-8, Page ID # 2156-57; Wood

Dep., R. 49-12, Page ID # 2740-41. Yet the District took no action. It did not train

staff or students on racial harassment, it did not separate C.M. from her harassers, it



                                          18
           Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 25




did not even, at minimum, alert C.M’s teachers of the harassment or ask for them to

watch out for her. And, unsurprisingly, the harassment continued. Def. MSJ Ex. 22,

R. 31-1, Page ID # 746-48; Malick Notes, R. 50-4; G.S. Docs, R. 51-8; A.S. Docs,

R. 51-4; D.P. Docs, R. 51-7; H.P. Docs, R. 51-9; J.S. Docs, R. 51-10; A.M. Docs,

R. 51-3. Indeed, the District’s discipline not only failed to stop the harassment but

enabled its perpetrators, who bragged and joked about the schools’ tolerance for their

misbehavior. Wood Dep., R. 49-12, Page ID # 2868.

      This case is strikingly similar to Zeno, where the Second Circuit held a

reasonable jury could find a school was deliberately indifferent to racial harassment.

See supra p. 3. Like the school in Zeno, the District knew the student discipline it

had imposed was ineffectual at stopping the harassment—and even, in some cases,

emboldened the harassers. Plaintiffs-Appellants’ Brief, R. 32, Page ID # 54-55. Like

the school in Zeno, the District nonetheless dragged its feet to try additional

remedies. Id., Page ID # 56-58. Like the school in Zeno, the District turned down an

offer from the local NAACP to provide education to end the harassment, and instead

offered generic trainings on inapt topics. Id., Page ID # 59. It did not try any of the

other possible interventions discussed above. See supra Part II. And as with the

school in Zeno, a jury could find the District was deliberately indifferent.

      The district court was wrong to conclude that a jury could not find the District

was deliberately indifferent because it disciplined some of C.M.’s harassers. In


                                          19
           Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 26




reaching its conclusion, the district court erroneously assessed the effectiveness of

the District’s response by whether it stopped the specific disciplined harassers from

specifically targeted C.M, asserting that “the deliberate indifference formulation

individualizes the harassment as being directed to the same victim.” Opinion, R. 67,

Page ID # 4232. That is wrong as a matter of law and a matter of fact.

      For starters, the district court’s “individualization” of the deliberate

indifference element was based on precedent inapplicable to this case. The district

court rooted this requirement in Kollaritsch v. Michigan State Univ. Bd. of Trustees,

944 F.3d 613 (6th Cir. 2019). Opinion, R. 67, Page ID # 4232. There, this Court held

that a Title IX plaintiff must demonstrate that her school’s deliberate indifference

caused her to experience additional sexual harassment, and instructed that she could

not satisfy this requirement with “conduct by the perpetrator directed at third

parties.” Kollaritsch, 944 F.3d at 621-22, 623-24 (cleaned up). But “Kollaritsch . . .

does not apply to students in high school.” Doe ex rel. Doe #2 v. Metro. Gov’t of

Nashville & Davidson Cnty., 35 F.4th 459, 467-68 (6th Cir. 2022). So, it has no

bearing on this case.

      And “[i]t is well-established that incidents of racial harassment that a plaintiff

learns of secondhand and did not personally experience may ‘contribute to a[n] . . .

environment that was hostile.’” Strickland v. City of Detroit, 995 F.3d 495, 504 (6th

Cir. 2021) (quoting Jackson v. Quanex Corp., 191 F.3d 647, 661 (6th Cir. 1999)).


                                          20
           Case: 24-1147    Document: 39      Filed: 08/15/2024   Page: 27




“[R]acial epithets need not be hurled at the plaintiff in order to contribute to” the

racially hostile environment she suffers. Jackson, 191 F.3d at 661. For that reason,

the district court was wrong to judge the District’s effectiveness by whether it

prevented “specific incidents of racial harassment of C.M.” Opinion, R. 67, Page ID

# 4234 (emphasis added); see id., R. 67, Page ID ## 4211-4221. District students’

ongoing and widespread use of the “n-word,” for example, created a hostile

environment for C.M., even though the slur was not always directed at her.

Plaintiffs-Appellants’ Brief, R. 32, Appendix A. 2

      Moreover, even if the district court were right about the law, the Malicks could

meet that standard. They repeatedly reported to the District that students—including

the same harassers—continued to target C.M. after the District received notice.

When the Malicks notified school administrators about the past and ongoing

harassment, the school took no actions that reduced or eliminated the harassment

against C.M. and as such, can be found to be deliberately indifferent to the racial

harassment C.M. faced and the racially hostile educational environment she was

forced to endure.



2
  Conversely, if a widespread hostile environment continues unchecked, a school
will not necessarily escape a finding of deliberate indifference just because it stops
some individual students from continuing their harassment. In Zeno, for example,
some individual harassers stopped but were quickly replaced by others,
demonstrating the ineffectiveness of the school’s response. See Zeno, 702 F.3d at
662, 668-71.

                                         21
             Case: 24-1147    Document: 39     Filed: 08/15/2024   Page: 28




                                   CONCLUSION

         This Court should reverse the judgment of the district court and remand for

trial.

                                        Respectfully submitted,
                                        /s/ Bonsitu Kitaba-Gaviglio
                                        Bonsitu Kitaba-Gaviglio
                                        Daniel S. Korobkin
                                        American Civil Liberties
                                          Union Fund of Michigan
                                        2966 Woodward Ave.
                                        Detroit, MI 48201
                                        (313) 578-6800
                                        bkitaba@aclumich.org

                                        Counsel for Amicus Curiae

Dated: August 15, 2024




                                          22
           Case: 24-1147    Document: 39     Filed: 08/15/2024    Page: 29




                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Rules 29(a)(5) and

32(a)(7)(B) of the Federal Rules of Appellate Procedure because it contains 4,920

words, excluding the parts of the brief exempted by Rule 32(f).

                                      /s/ Bonsitu Kitaba-Gaviglio
                                      Bonsitu Kitaba-Gaviglio




                                        23
          Case: 24-1147     Document: 39      Filed: 08/15/2024   Page: 30




                          CERTIFICATE OF SERVICE

      On August 15, 2024, I caused this brief to be filed using the court’s electronic

filing system, which will serve electronic notice of such filing to all counsel of

record.

                                       /s/ Bonsitu Kitaba-Gaviglio
                                       Bonsitu Kitaba-Gaviglio




                                         24
